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                                                                     EXHIBIT E


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  BRUNO BALASSIANO, on behalf of himself
  and those similarly situated,

           Plaintiff,

  v.

  FOGO DE CHAO CHURRASCARIA
                                                     Case No.: 6:19-cv-2140-ORL-78EJK
  (ORLANDO) LLC, a foreign limited liability
  company, FOGO DE CHAO
  CHURRASCARIA (JACKSONVILLE)
  LLC, a foreign limited liability company,
  FOGO DE CHAO CHURRASCARIA
  (MIAMI) LLC, a foreign limited liability
  company,

        Defendants.
  ______________________________________/

                          OPT-IN PLAINTIFF PAULO RODRIGUES
                         ANSWERS TO COURT INTERROGATORIES

       1. During what period of time were you employed by the Defendant? July 2013 to August
          2016.

       2. Who was your immediate supervisor? Paulo Simonetti.

       3. Did you have a regularly scheduled work period? If so, specify. Yes. Five to six days a
          week, from 10:00 am until 9:00 pm with a lunch break.

       4. What was your title or position? Briefly describe your job duties. I was a server and
          carver. I would great the guest, explain the concept of the restaurant and take their
          orders, carve the meats at the table.

       5. What was your regular rate of pay? Minimum wage minus $3.02 plus portion of the tips.

       6. What is the nature of your claim (check all that apply)?
          _____Off the clock work (Defendant failed to record, or prohibited you from
          recording, all of your working time;
          _____Misclassification (Defendant mistakenly classified you as exempt from overtime);
          _____Miscalculation (Defendant failed to correctly calculate your compensation);
          ___X_Other (Please describe): Improper use of the tip credit; misappropriation of tips
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    7. Provide an accounting of your claim, including:
       (a) dates: July 2013 to August 2016
       (b) regular hours worked: avg 40 hours per week
       (c) over-time hours worked: n/a
       (d) pay received versus pay claimed: repayment of the tip credit ($3.02/hour)
       (e) total amount claimed: $4,977.41
       Plaintiff also seeks reimbursement of misappropriated tips but needs additional
       records to calculate that amount. Plaintiff will revise the damage calculations upon
       receipt of those records.

    8. If you have brought this case as a collective action:
       (a) Describe the class of employees you seek to include in this action. Carvers and Servers
       who worked for Defendant five years prior to the filing of this Complaint. See
       Amended Complaint.
       (b) Has an opt-in notice been filed for every potential opt-in Plaintiff who has identified
       himself or herself as a person who wishes to join this action? No.

    9. Please specify all attorney's fees and costs incurred to date. With respect to attorney's fees,
       please provide the hourly rate(s) sought and the number of hours expended by each person
       who has billed time to this case. I have no personal knowledge of the fees and costs my
       attorney are claiming. To date, it is my understanding that counsel for Plaintiff is
       claiming he has expended fees/costs as follows:
       Fees
               Attorney Hours          135.2           (rate TBD)
               Paralegal Hours         46              (rate TBD)
               Costs                   $501.46

    10. When did you (or your attorney) first complain to your employer about alleged violations
        of the FLSA? I do not recall the date I first complained.

    11. Was this complaint written or oral? (If a written complaint, please attach a copy). Verbally

    12. What was your employer’s response? (If a written response, please attach a copy). No
        answer.




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